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UNITED STATES DISTRJCT COURT
SOUTHERN DISTRICT OF NEW YORK

 CONGREGANTS OF MOSDOS CHOFETZ CHAIM
 INC. NKJA KIRYAS RADlN,
                                          Plaintiffs,
                     - against -                          CONSENT TO CHANGE
                                                             ATTORJ'l'EYS
 MOSDOS CHOFETZ CHAIM INC., CHOFETZ
 CHAIM INC., TBG RADIN LLC, SHEM OLAM,
 LLC, CONGREGATION RADIN DEVELOPMENT                         Bankruptcy Court
 INC., ARYEH ZAKS, BEATRJCE WALDMAN                     Adv. Pro. No. 21-7023 (RDD)
 ZAKS, MENDEL ZAKS, GITTLE ZAKS LA YOSH,
 ELIYAI-IU LAYOSH, SAMUEL MARKOWITZ,                          21 Civ. 4688 (PMH)
 DEBORAH ZAKS HILLMAN, YOM T. HENIG,
 STEVEN GREEN, DANIAL GREEN, ABRAHAM
 ZAKS and STERLING NATIONAL BANK,
                                        Defendants.
                                                                                             ...
       We the undersigned, hereby consent and agree that Abrams, Fensterman, Fensterman,
Eisman, Fonnato, Fenara, Wolf & Carone, LLP, 81 Main Street, Suite 306, White Plains, New
York 10601, be substituted in the place and stead of the tmdersigned Oxman Law Group PLLC,
120 Bloomingdale Road, White Plains, New York 10605 as attorneys for Appellant Rabbi Mayer
Zaks in the above entitled action as of this date.

Dated: White Plains, New York
           June8,2021

Abrams, Fensterman, Fensterrnan,           Oxman Law Group, PLLC
Eisman, Fon11ato, Feffara, Wolf &
Carone, LLP

                                           By:_____________
���ert�.--                                 Marc Oxman, Esq.
8] Main Street, Suite 306                  120 Bloomingdale Road
White Platns, New York 10601               V✓h. ite Plains, Tew York 10605
(Incoming Attorneys)                       (Ou�Jorneys)



                                           Rabbi Mayer Zaks       �
